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 8                                  UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       No. 2:10-cr-0055 KJM
12                     Plaintiff,
13           v.                                      ORDER
14   JOSE SERRANO-VILLALOBOS,
15                     Defendant.
16

17                 Defendant Jose Serrano-Villalobos, proceeding pro se1, has filed a motion to

18   reduce his sentence based on 18 U.S.C. § 3582(c)(2), ECF No. 199.2 Defendant relies on

19   Amendment 782 to U.S.S.G. § 1B1.10, which lowered by two points the base offense level for

20   most drug trafficking offenses. The Amendment applies retroactively to defendants sentenced

21   prior to its effective date. See Serrano v. United States, 2014 WL 6773237 (E.D. Cal. 2014), slip

22   op. at 1.

23                 By minute order filed August 25, 2015, the government was ordered to file a

24   response to the motion within sixty days. ECF No. 201. The government did not file a timely

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26    On July 30, 2015, the Office of the Federal Defender filed notice that it did not recommend
     appointment of counsel to represent defendant on the instant motion. See ECF No. 200.
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      On May 29, 2014, defendant filed a motion to reduce his sentence on the same ground, ECF No.
28   163. The motion was denied without prejudice by order filed July 24, 2014, ECF No. 171.
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 1   response to the motion, nor did it seek an extension of time to do so. Instead, the government
 2   filed a response on March 8, 2016, ECF No. 203, approximately five months after the deadline set
 3   by the court’s minute order. The government offers no explanation in its brief for the delay in
 4   responding. Although the court looks with disfavor on this unexplained delay, it has nonetheless
 5   considered the government’s response. After consideration of the moving papers, the relevant
 6   parts of the record, and applicable legal principles, the court hereby denies defendant’s motion.
 7                  On August 22, 2012, defendant pleaded guilty to charges of conspiracy to
 8   distribute and to possess with intent to distribute methamphetamine and marijuana and conspiracy
 9   to possess with intent to distribute methamphetamine, in violation of 21 U.S.C. §§ 846 and
10   841(a)(1), and distribution of methamphetamine, possession with intent to distribute
11   methamphetamine, and possession with intent to distribute marijuana, all in violation of 21
12   U.S.C. §§ 841(a)(1) and 846. See ECF No. 18, 82. On December 5, 2012, defendant was
13   sentenced to 120 months in prison on each of four of the counts and 60 months on one of the
14   counts, to be served partially concurrently for a total term of 150 months in prison. ECF No. 97.
15                  The authority of the district courts to modify a prison sentence is governed by 18
16   U.S.C. § 3582. In relevant part, § 3582(c)(2) provides:
17                  (2) in the case of a defendant who has been sentenced to a term of
                    imprisonment based on a sentencing range that has subsequently
18                  been lowered by the Sentencing Commission pursuant to 28 U.S.C.
                    994(o), upon motion of the defendant . . ., the court may reduce the
19                  term of imprisonment, after considering the factors set forth in
                    section 3553(a) to the extent they are applicable, if such a reduction
20                  is consistent with applicable policy statements issued by the
                    Sentencing Commission.
21

22   18 U.S.C. § 3582(c).
23                  As the Ninth Circuit recognizes, “[t]he Supreme Court has clarified that section
24   3582(c)(2) requires a two-step inquiry.” United States v. Dunn, 728 F.3d 1151, 1155 (9th Cir.
25   2013) (citing Dillon v. United States, 560 U.S. 817, 827 (2010)). “First, a district court must
26   determine whether a prisoner is eligible for a sentence modification under the Commission’s
27   policy statement in U.S.S.G §1B1.10.” Id. (citing Dillon, 560 U.S. at 827). This is done “by
28   ‘determin[ing] the amended guideline range that would have been applicable to the defendant had
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 1   the relevant amendment been in effect at the time of the initial sentencing.’” Dunn, 728 F.3d at
 2   1155 n.3 (quoting Dillon, 560 U.S. at 827) (internal quotation marks omitted). Generally,
 3   § 1B1.10 precludes reduction of a term of imprisonment below the minimum of the amended
 4   guideline range. Id. However, U.S.S.G. § 1B1.10(b)(2)(B) authorizes a reduction below the
 5   amended guideline range for a defendant whose original sentence was below the applicable
 6   guideline range based on substantial assistance to the government.3
 7                   Here, defendant’s commitment offense involved at least 4,239.4 grams of
 8   methamphetamine (actual). PSR ¶ 23.4 For sentencing purposes, this quantity of
 9   methamphetamine converted to a total of 84,788 kilograms of marijuana. PSR ¶ 24. The PSR
10   represents that defendant’s commitment offense involved a total drug quantity of 87,180.456
11   kilograms of marijuana, including the methamphetamine. Id. At the time of defendant’s
12   sentencing, the sentencing guidelines provided a base offense level of 38 for that quantity of
13   drugs. Id. at 25; U.S.S.G. § 2D1.1(c)(1)(2011).5 Defendant received a two-level increase for
14   possession of a firearm, a two level reduction for acceptance of responsibility, and a one level
15   reduction in anticipation of a motion by the government for timely notification of an intent to
16   plead guilty, making his total offense level 37. PSR ¶¶ 26, 30-32. His criminal history category
17   was I, PSR ¶ 36, making his sentencing guideline range 210 to 262 months in prison. PSR ¶ 54.
18   The probation officer found that a sentence of 180 months might “be appropriate to avoid
19   unwarranted sentence disparities among similarly situated defendants in other cases” and that
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         U.S. Sentencing Guidelines Manual § 1B1.10((b)(2)(B) (2014) provides:
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                     (B) Exception for Substantial Assistance.—If the term of
22                   imprisonment imposed was less than the term of imprisonment
                     provided by the guideline range applicable to the defendant at the
23                   time of sentencing pursuant to a government motion to reflect the
                     defendant’s substantial assistance to authorities, a reduction
24                   comparably less than the amended guideline range determined
                     under subdivision (1) of this subsection may be appropriate.
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26    A copy of the September 28, 2012 Presentence Investigation Report (PSR) prepared for
     defendant’s sentencing is filed under seal concurrently with this order.
27
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         The 2011 Guidelines Manual was used in the preparation of defendant’s PSR. PSR ¶ 22.
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 1   “this would require the Court to downward depart 2 levels from the advisory guidelines.” PSR ¶
 2   67. The court sentenced defendant to 150 months in prison, departing downward for reasons set
 3   forth in the Statement of Reasons (SOR), namely:
 4                  The court adopts the narrative discussion of 3553 factors as set
                    forth in the presentence investigation report, and gives special
 5                  weight to the probation officer’s indication that a sentence of 180
                    months total avoids unwarranted disparities. The downward
 6                  variance to 150 months further ensures no unwarranted disparities
                    in light of the facts demonstrating this defendant’s strong history of
 7                  lawful work and negligible criminal history and slightly lessor
                    culpability when compared to his co-defendant, Gonzalo Serrano-
 8                  Villalobos (2:10CR00055-02).
 9   See SOR at 3 (filed under seal concurrently with this order).
10                  Amendment 782 lowered the base offense level for the quantity of drugs involved
11   in defendant’s offense to 36. U.S.S.G. § 2D1.1(c)(2) (2014). The net result of this base offense
12   level is that defendant’s total offense level would now be 35 which, combined with a criminal
13   history category of I, would result in a sentencing guideline range of 168 to 210 months in prison.
14   U.S.S.G. Sentencing Table (2014). As noted above, defendant was sentenced to 150 months in
15   prison. The court’s decision at the time of sentencing to depart downward from the bottom of the
16   guideline range was not due to a motion by the government. See SOR at 3. Thus, Amendment
17   782 does not authorize a reduction in defendant’s sentence. See U.S.S.G. 1B1.10.
18                  For the foregoing reasons, IT IS HEREBY ORDERED that:
19                  1. Defendant Jose Serrano-Villalobos’ motion to reduce sentence, ECF No. 199, is
20   denied; and
21                  2. The Clerk of the Court is directed to file under seal the September 28, 2012
22   Presentence Investigation Report for defendant and the court’s Statement of Reasons.
23   DATED: May 20, 2016
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                                                 UNITED STATES DISTRICT JUDGE
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